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                                     UNITED STATES DISTRICT COURT
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                                             DISTRICT OF NEVADA
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     UNITED STATES,                                           )
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                             Plaintiff(s),                    )       Case No. 2:15-cr-00069-JCM-NJK
12                                                            )
     vs.                                                      )       ORDER
13                                                            )
     JIANGUO HAN, et al.,                                     )
14                                                            )
                             Defendant(s).                    )
15                                                            )
16           On April 17, 2015, the Court granted the motion for attorney Robert Curtis to appear in this case.
17   See Docket No. 32. Since that time, several documents signed by Mr. Curtis have been filed using the
18   CM/ECF login of Matthew Callister. See, e.g., Docket No. 38. Mr. Callister has never filed a notice
19   of appearance in this case. In light of the above, the Court hereby ORDERS that either: (1) Mr. Callister
20   file, no later than May 21, 2015, a notice of appearance if he is actively participating in the defense of
21   this case; or (2) Mr. Callister file a certification, no later than May 21, 2015, that he has advised his staff
22   and associates that his CM/ECF account may not be used in any case in which he is not actively
23   participating, and that the CM/ECF account of the attorney who signs and is responsible for a Court
24   document should be used instead.
25           IT IS SO ORDERED.
26           DATED: May 18, 2015
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                                                              ______________________________________
28                                                            NANCY J. KOPPE
                                                              United States Magistrate Judge
